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                       UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION             ) CASE NO. 17-md-2804
OPIATE LITIGATION                        )
                                         ) JUDGE POLSTER
                                         )
                                         )
                                         )


       [PROPOSED] ORDER REGARDING RELATION BACK AND TOLLING
      In Case Management Order Number 1 (docket no. 232) (“CMO 1”), the Court

created a “litigation track” to conserve judicial resources, reduce duplicative service,

avoid duplicative discovery, serve the convenience of the parties and witnesses, and

promote the just and efficient conduct of this litigation. The Court finds those same

interests would be served by this Order Regarding Relation Back and Tolling (“Order”).

Thus, the Court hereby GRANTS Plaintiffs’ Motion for Modification of CMO 1 Regarding

Relation Back and Tolling to provide Plaintiffs with a reasonable opportunity to obtain

and analyze the ARCOS data before deciding whether to amend their complaints.

      On April 11, 2018, the Court entered an ARCOS Data Order ordering the

production of the ARCOS data for the Six States designated in CMO 1 (docket no. 233).

On May 8, 2018, the Court entered a Second Order Regarding ARCOS Data (docket

no. 397) for all of the States and Territories.   The Court found that access to the

ARCOS data allows “both the litigation and the settlement tracks of this MDL to proceed

on meaningful, objective data, not conjecture or speculation.” (id.). Among other things,

such access has allowed Plaintiffs both to identify previously-unknown entities involved
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in the manufacturing and distribution of opioids and to identify improperly-named

defendants (Id.).

       Accordingly, the Court ORDERS that the deadline set out in CMO 1 ¶ 6.b, and in

the Court’s May 3, 2018 Order regarding CMO 1, requiring Plaintiffs whose cases are

not designated in paragraphs 2 or 3 of CMO 1 to file amended pleadings without leave

of Court by May 25, 2018, is expressly stayed.            The stay regarding these cases

instituted by CMO 1 and the May 3, 2018 Order shall remain in place, and the Plaintiffs

in these cases shall be provided a later opportunity to amend without leave of Court.

       As ordered earlier, this stay does not limit the rights of any MDL Plaintiffs to

access the ARCOS data when it can reasonably made available by the PEC or to

access any other documents and information produced or generated through the

discovery process, subject to this Court’s Protective Order(s). This stay will provide the

PEC with the opportunity to analyze and organize the ARCOS to promote an orderly,

considered, and economical amendment process that will not conflict with the deadlines

in CMO 1.

       The Court hereby ORDERS that, as to any civil action which is now part of the

MDL Proceedings (as defined in CMO 1 at ¶1.a), or which later becomes part of the

MDL Proceedings, the amendment of any Complaint to add any additional Defendant(s)

and which alleges claims arising from the facts and circumstances related to the

manufacture, marketing, distribution, and/or sale of prescription opioids against such

additional Defendant(s), there is a rebuttable presumption that it relates back, under

Fed.R.Civ.P.15(c), to the filing date of the original Complaint in that civil action.




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       This Order tolls as a rebuttable presumption, based on the considerations set

forth in this Order, and pursuant to Rule 15’s relation back principles, all potentially

applicable statutes of limitations, statutes of repose, time-related defenses, other

periods governing the filing and pursuit of claims, and any notices required to be given

in order to preserve rights to claims, whether statutory, contractual, or otherwise, and

whether at law, in equity, or otherwise, in any jurisdiction, which may fix or limit the

period within which a claim may be brought (collectively, “the Time-Based Defenses”)

which are or may be applicable to any claim arising from the facts and circumstances

related to the manufacture, distribution, and/or sale of prescription opioids and the

duties related to those activities which any Plaintiff or prospective Plaintiff might assert

in the current or future civil actions in the MDL Proceedings.

       The Court FINDS the factual situation in this unique set of circumstances meets

the high bar for equitable tolling. “Equitable tolling has two requirements: (1) petitioner

must establish that he has been pursuing his rights diligently. And [(2)], the petitioner

must show that some extraordinary circumstance stood in his way and prevented timely

filing.” North v. County of Cuyahoga, No. 1:15-CV-1124, 2017 WL 3065502, at *9 (N.D.

Ohio July 19, 2017) (internal citations omitted). Plaintiffs in the non-trial cases filed in

the MDL have diligently pursued their rights but are in the extraordinary circumstance of

being prevented from identifying additional Defendants because they have not had

sufficient time to access to the ARCOS database.

       The Court further FINDS that the relation back of any such amendments will not

prejudice the potential Defendant(s).       The potential Defendant(s), whose parent,

subsidiaries, or sister companies have been sued in this litigation, who share counsel,


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or who are registrants distributing opioids under the Controlled Substances Act and who

are therefore included in the ARCOS database, however, should have on constructive,

if not actual, notice of this litigation. Such Defendant(s) should be on notice of the MDL

Proceedings, the opioid epidemic, and the potential claims against defendant(s), though

certain factors, including the confidential nature of the ARCOS database, have delayed

or prevented the ability of the Plaintiffs in the MDL Proceedings to identify all

Defendants to their civil actions. Thus, the Court will presume that the relation back of

any such amendments is appropriate and will not prejudice the newly added

Defendant(s), unless any Defendant(s) rebut(s) that presumption.

       While the Court FINDS that this constructive notice is sufficient, North v. Cty. of

Cuyahoga, supra, the Court Orders Plaintiffs to make a good faith effort to mail a copy

of this Order to all manufacturers and distributors of opioids identified in the ARCOS

data at the addresses contained therein.

       The Tolling Period for each Defendant and potential Defendant shall begin on the

earliest of the following dates:

   (1) the date on which the Defendant or potential Defendant was first named in a civil

       action which is now, or will become, part of the MDL Proceedings or

   (2) December 5, 2017, the date on which the United States Judicial Panel on

       Multidistrict Litigation entered the initial Transfer Order in the MDL Proceedings

       or

   (3) the date the original complaint was first filed.




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The Tolling Period shall extend until 60 days after the Court lifts this Order. This Order

does not affect or alter any Time-Based Defense, or similar time limitation, that has

already expired as of the beginning of the Tolling Period.



                                                ______________________________
                                                HON. DAN AARON POLSTER
                                                UNITED STATES DISTRICT JUDGE
Dated: ___________________




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